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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ROBERT (BOB) ROSS                   §
                                    §
VS.                                 §
                                    §
ASSOCIATION OF PROFESSIONAL §
FLIGHT ATTENDANTS, et al.,          §
                                    §     Case No. 4:22-CV-343-Y
AND                                 §
                                    §     Consolidated with
EUGENIO VARGAS                      §     Case No. 4:22-CV-430-Y
                                    §
VS.                                 §
                                    §
ASSOCIATION OF PROFESSIONAL §
FLIGHT ATTENDANTS, et al.,          §
______________________________________________________________________________


       APFA DEFENDANTS’ SUPPLEMENTAL APPENDIX SUPPORTING
  OPPOSITION TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

        Pursuant to Local Rule 7.1(i), Defendant and Counterclaim Plaintiff the Association of

Professional Flight Attendants (“APFA”), its National President and Defendant, Julie Hedrick, and

National Treasurer and Defendant, Erik Harris (collectively, “the APFA Defendants”), hereby

submit the following Supplemental Appendix to its Opposition to Plaintiffs’ Motion for Partial

Summary Judgment. These materials supplement the APFA Defendants’ Appendix filed in support

of their Motion for Summary Judgment, Doc. 236.

  Tab                                    Description                                     APFA
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    7     Factual Material                                                                676


          Vargas Article VII Hearing – Transcript (Excerpts)                            677-698
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         APFA Form LM-2 (dated June 28, 2017) (Excerpt)                             703-704


         APFA Form LM-2 (dated June 30, 2018) (Excerpt)                             705-706


         “Instructions For Form LM-2 Labor Organization Annual Report,” U.S.
                                                                                    707-711
         Dep’t of Labor, Office of Labor-Management Standards (Excerpt)


   8     Unpublished Cases                                                            712


         Smith v. Spizzirri, No. 22-1218, 2024 WL 2193872 (U.S. May 16, 2024)       713-717


         McCarthy v. IAM, No. 21-1673, 2021 WL 5766569 (3d Cir. Dec. 6, 2021)       718-722


         Martin v. Local 556, Transport. Workers Union of Am.,
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         No. 3:14-cv-0500-D, 2014 WL 4358480 (N.D. Tex. Sept. 3, 2014)


         Abrams v. American Airlines, No. 4:04-CV-919-Y, 2007 WL 9775358
                                                                                    733-736
         (N.D. Tex. Aug. 30, 2007)




Dated: May 24, 2024                              Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I certify that on May 24, 2024, a true and correct copy of the foregoing document was
served upon all persons who have requested notice and service of pleadings in this case via the
Court’s ECF system.

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